                    EXHIBIT 6




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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 5:18-CV-00013


                                    )
ATLANTIC COAST PIPELINE, LLC,       )
                                    )
              Plaintiff,            )
                                    )
v.                                  )
                                    )
11.57 ACRES, MORE OR LESS, IN       )
NASH                                )
COUNTY, NORTH CAROLIN,              )
                                         DECLARATION OF DONOVAN
LOCATED ON PARCEL                   )
                                               MCLAURIN
INDENTIFICATION NO.                 )
026095 IDENTIFIED IN BOOK 528,      )
PAGE 373; LOCATED ON PARCEL         )
IDENTIFICATION NO. 026132           )
IDENTIFIED IN BOOK 530, PAGE 432,   )
AND OWNED BY WALTER MARVIN          )
WINSTEAD.,                          )
                                    )
            Defendants.             )




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                        DECLARATION OF DONOVAN E. MCLAURlN


        I, Donovan E. McLaurin, declare and state as follows:

        1.       I am of legal age and am competent to give this declaration. All information

herein is based on my own personal knowledge unless otherwise indicated.

        2.       I am a lifelong resident of Cumberland County and live at 7574 River Road,

Wade, NC 28395.

        3.       I am the President of McLaurin Company, Inc. ("McLaurin Co"), through which

the company owns four parcels totaling almost 230 acres adjacent to and near the Cape Fear

River. There are blue line streams and wetlands on the property. A map showing the' 4 parcels

and locations of streams and wetlands is attached as Exhibit. A. I had prepared plans for sub-

dividing and developing the property..

        4.       I was contacted by several different land agents who said they represented the

Atlantic Coast Pipeline and wanted an easement for a 36" high pressure pipelines across my

property. I explained that I was not interested in selling an easement for a big pipeline because I

wanted to subdivide and develop the property.

        5.       The initial offer they made was very low. Later, they came to me with a check for

approximately $36,000 and said that if I did not take the check, they would take the property

from me by eminent domain. The next letter I got from them offered to double that amount

which I refused. Later I got a letter reducing that amount. By the end of 2017, they withdrew all

offers to negotiate.

        6.       In early 2018, I received court documents relating to condemnation of almost 11

acres of my property by the Atlantic Coast Pipeline, Case No. 5:18-CV-48-BO.




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         7.    At that time, because I was the sole care-giver for my father who was dying, I did

not review the papers closely nor did I hire an attorney to assist me.

         8.    I learned weeks later that on the day before my father died, the court ruled that the

Atlantic Coast Pipeline had the right to seize my property even though I never had my day in

court.

         9.    Six months after my father passed away, my oldest son passed away.

         10.   At some point I learned that the pipeline had a court order to come on my land

and that they had deposited $46,000 with the court as "just compensation" for the destruction of

my property.

         11.   In late November, the Atlantic Coast Pipeline arrived on my property without

notice with dozens of workers with chain saws. A un-uniformed security guard was stationed

approximately one-eighth mile away in the Mount Olive Church parking lot in an unmarked four

wheel drive vehicle. These security guards of Duke/Dominion are usually employed by Tiger

Swan. The workers began cutting down trees along an approximately 150 ft. wide path. The

map attached as Exhibit A shows the approximate location of the pipeline within the tree

clearing, the stream crossings and the wetlands.

         12.   They worked nonstop for several days cutting down trees in the wetland and dry

areas across my property. Completing their work just as their permit from the US Army Corps

of Engineers was revoked on November 20,2018. They skipped over the property next to mine

leaving the trees at this time as the owners of this property had agreed to their demands.

         13.   In disbelief of the destruction I saw across my property and adjoining property, on

November 27, 2018, I hired a helicopter pilot and a photographer to take pictures of the

destruction through the swamps and across my land.




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      14.    Attached as Exhibit B are true and accurate copies of photographs taken at my

request on November 27,2018.



      I declare under penalty of perjury the foregoing is true and correct to the best of my

knowledge.

      Executed on this   :23 day of April, 2020.


                                           Donovan McLaurin




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                    EXHIBIT A




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                    EXHIBIT B




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